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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


  ARLENE M. CRUZ,                                 CIV. NO. 19-00255 JMS-KJM
                     Plaintiff,
        vs.
  KAUMANA DRIVE PARTNERS, LLC,
  dba LEGACY HILO REHABILITATION
  & NURSING CENTER; ANDRE
  HURST; BENJAMIN MEEKER,
                     Defendants.

        ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND
                  RECOMMENDATION, ECF No. 86

              Findings and Recommendation having been filed and served on all

  parties on October 15, 2021, and no objections having been filed by any party,

              IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title

  28 United States Code § 636(b)(1)(C) and Local Rule 74.1, the “Findings and

  Recommendation to Grant Defendant Kaumana Drive Partners, LLC and Plaintiff

  Arlene M. Cruz’s Joint Petition for Finding of Good Faith Settlement Pursuant to

  HRS § 663-15.5,” ECF No. 86, are adopted as the opinion and order of this Court.

              IT IS SO ORDERED.
              DATED: Honolulu, Hawaii, November 3, 2021.

                                          /s/ J. Michael Seabright
                                         J. Michael Seabright
                                         Chief United States District Judge
